                                  Case 15-31350-PGH                  Doc 1        Filed 12/08/15            Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter you are filing under:
                                                                               Chapter 7

                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                    Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TJB Air Conditioning, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  4400 US Hwy 27 N
                                  Sebring, FL 33870
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Highlands                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership
                                      Other. Specify:




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7.   Describe debtor's business A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53AB))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80a-3)

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.naics.com/search/.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     Debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years after
                                                                  that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operation, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship to you
                                                  District                                 When                        Case number, if known




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11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                        5001-10,000                                50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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         Request for Relief, Declaration, and Signature

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 7, 2015
                                                  MM / DD / YYYY


                             X   /s/ Jeffrey P Babbitt                                                   Jeffrey P Babbitt
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   MGRM




18. Signature of attorney    X   /s/ Brian K. McMahon                                                     Date December 7, 2015
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Brian K. McMahon
                                 Printed name

                                 Brian K. McMahon
                                 Firm name

                                 1401 Forum Way
                                 6th Floor
                                 West Palm Beach, FL 33401
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561-478-2500                  Email address      briankmcmahon@gmail.com

                                 853704
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name TJB Air Conditioning, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                              Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                                   amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Ahern Rentals                                                                                                                                                                  $6,884.34
 POB 271390
 Aston, PA
 19014-3202
 Allied Building                                                                                                                                                                $6,453.98
 Products
 15 E. Union Ave
 POB 5670
 New York, NY
 10087-5670
 Alpha Surety                                                                                                                                                                 $11,200.00
 650 S. Shackleford
 Rd, Suite 325
 Little Rock, AR
 72211-3546
 B and B Insulation                                                                                                                                                           $16,320.00
 POB 605
 Minot, ND 58702
 Butler Balancing                                                                                                                                                             $12,250.00
 Company, Inc.
 POB 72256
 Thorndale, PA
 19372
 Cannon Contracting                                                                                                                                                           $75,000.00
 415A 7th St SW
 Minot, ND 58701
 Carrier Enterprises,                                                                                                                                                         $94,362.00
 LLC
 POB 905265
 Charlotte, NC
 28290-5265
 Ciright Automation,                                            Ft. Dix Project                                                                                               $99,669.00
 LLC
 c/o Steven A.
 Berkowitz, Esq
 10000Lincoln Drive
 East, Suite 202
 Marlton, NJ 08053

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 1

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 Debtor    TJB Air Conditioning, LLC                                                                              Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Colonial Funding                                               accounts                                               $253,070.15                         $0.00            $253,070.15
 Network                                                        receivable
 c/o Jennifer Ballard,
 Esq
 120 W 45th St, 2nd
 Floor
 New York, NY 10036
 Ecofoam                                                                                                                                                                      $11,000.00
 109G Gainsbrough
 Sq, #16
 Chesapeake, VA
 23320
 Escrow Company                                                                                                                                                               $39,304.53
 223 South Wacker,
 84th Floor
 Chicago, IL 60606
 Everest Business                                                                                                                                                             $84,594.00
 Funding
 16819 S Dupont Hwy
 Suite 300
 Harrington, DE
 19952
 H&B Products, Inc.                                                                                                                                                           $24,546.80
 4200 Forbes Blvd,
 #114
 Lanham, MD 20706
 Insulation Materials                                                                                                                                                           $9,982.67
 Corp
 POB 242
 South Plainfield, NJ
 07080-0242
 Luna Concrete                                                  Andrews Air                  Disputed                                                                         $20,930.00
 Contracting                                                    Force Base
 11011 Lanham                                                   project
 Severn Rd
 Glenn Dale, MD
 20769
 New Steel, Inc                                                                                                                                                               $27,938.45
 14851 Calhoun
 Road
 Omaha, NE 68152
 RAI                                                                                                                                                                          $69,593.00
 POB 432
 Sewell, NJ
 08080-0432
 Ready to Kool                                                                                                                                                                $13,047.96
 21324 Blackstone
 Cir
 Gretna, NE 68028
 Stephens & Smith                                                                                                                                                               $7,650.00
 Construction
 5711 S 60th St
 Omaha, NE 68117

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 2

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 Debtor    TJB Air Conditioning, LLC                                                                              Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Trane US, Inc.                                                                                                                                                               $72,429.28
 POB 406469
 Atlanta, GA
 30384-6469




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 3

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            Accustaffing
            145 Bradford Dr
            West Berlin, NJ 08091


            ACH Capital
            11 Broaday, Suite 814
            New York, NY 10004


            Acme Tools
            POB 13720
            Grand Forks, ND 58208-3720


            Ahern Rentals
            POB 271390
            Aston, PA 19014-3202


            Allied Building Products
            15 E. Union Ave
            POB 5670
            New York, NY 10087-5670


            Alpha Surety
            650 S. Shackleford Rd, Suite 325
            Little Rock, AR 72211-3546


            American Water
            POB 371331
            Pittsburgh, PA 15250-7331


            B and B Insulation
            POB 605
            Minot, ND 58702


            Black Cat Fasteners
            7928-32 State Rd
            Philadelphia, PA 19136


            Butler Balancing Company, Inc.
            POB 72256
            Thorndale, PA 19372


            Cannon Contracting
            415A 7th St SW
            Minot, ND 58701
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        Carrier Enterprises, LLC
        POB 905265
        Charlotte, NC 28290-5265


        Chuck Henry Sales, Inc.
        525 N Poplar St
        Solomon, KS 67480


        Cinnaminson Sewer
        1621 Riverton Rd
        Riverton, NJ 08077


        Ciright Automation, LLC
        c/o Steven A. Berkowitz, Esq
        10000Lincoln Drive East, Suite 202
        Marlton, NJ 08053


        Citizens Energy Group
        POB 7056
        Indianapolis, IN 46207-7056


        Colonial Funding Network
        c/o Jennifer Ballard, Esq
        120 W 45th St, 2nd Floor
        New York, NY 10036


        Colonial Surety Company
        50 Chestnut Ridge Road
        Montvale, NJ 07645


        Comcast
        POB 3005
        Southeastern, PA 19398


        Comcast
        POB 105257
        Atlanta, GA 30348-5257


        Corporation Service Company, as rep
        POB 2576
        Springfield, IL 62708


        Costanza, Spector, Clauser
        304 Harper Drive, #100
        Moorestown, NJ 08057
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        De Lage Landen Financial Services
        PO Box 41602
        Philadelphia, PA 19101-1602


        Ecofoam
        109G Gainsbrough Sq, #16
        Chesapeake, VA 23320


        Escrow Company
        223 South Wacker, 84th Floor
        Chicago, IL 60606


        Everest Business Funding
        16819 S Dupont Hwy
        Suite 300
        Harrington, DE 19952


        Graybar Electric
        11885 Lackland Rd
        Maryland Heights, MO 63146


        Gustave A Larson Company
        W233 N2869 Roundy Circle West
        Pewaukee, WI 53072


        H&B Products, Inc.
        4200 Forbes Blvd, #114
        Lanham, MD 20706


        Harrison Sheetrock



        Holman Preservations, LLC
        28615 Lake Industrial Blvd
        Tavares, FL 32778


        Indianapolis Power & Light
        POB 110
        Indianapolis, IN 46206-0110


        Insulation Materials Corp
        POB 242
        South Plainfield, NJ 07080-0242
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        Internal Revenue Service
        Attn: Bankruptcy Department
        POB 21126
        Philadelphia, PA 19114-0326


        Jeffrey Babbitt
        4201 Bunker Road
        Sebring, FL 33872


        Johnson Septic Tank Service
        1202 Massey Ferguson Rd
        Garden City, KS 67846


        Louis Canuso
        401 Crown Point Rd
        Thorofare, NJ 08086


        Luna Concrete Contracting
        11011 Lanham Severn Rd
        Glenn Dale, MD 20769


        Maillie
        PB 680
        Oaks, PA 19456-0680


        Marion Landscaping, LLC
        POB 63
        Mount Laurel, NJ 08054


        Marjam Supply Company
        855 T Conklin St
        Farmingdale, NY 11735


        Mobile Mini, Inc
        POB 7144
        Pasadena, CA 91109-7144


        New Steel, Inc
        14851 Calhoun Road
        Omaha, NE 68152


        Panhandle Steel Erectors
        POB 31270
        Amarillo, TX 79120-1270
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        Pemberton Farms Associates
        c/o Gary J. Zangerle
        Blason II, Suite 201
        505 South Lenola Road
        Moorestown, NJ 08057


        RAI
        POB 432
        Sewell, NJ 08080-0432


        Ready to Kool
        21324 Blackstone Cir
        Gretna, NE 68028

        RMP Capital Corporation
        1747 Veterans Memorial Highway, Suite 6
        Islandia, NY 11749


        Stephens & Smith Construction
        5711 S 60th St
        Omaha, NE 68117


        Systems Management & Balancing, Inc
        925 SE Olson Drive
        Waukee, IA 50263


        Thiele Geotech, Inc.
        13478 Chandler Rd
        Omaha, NE 68138-3716


        Trane
        3600 Pammel Creek Road
        La Crosse, WI 54601


        Trane US, Inc.
        POB 406469
        Atlanta, GA 30384-6469


        Validated Custom Solutions
        738 Rugby Street
        Orlando, FL 32804
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        Volmar Construction, Inc.
        c/o Monica Barron, Esquire
        Georgoulis PLLC
        120 Wall Street, Suite 1803
        New York, NY 10005


        Wells Global
        4540 Preslyn Dr
        Raleigh, NC 27616
